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               Exhibit 8.1
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              Infringement Claim Chart for U.S. Pat. No. US10491748B1 v. Google (“Defendant”)


    Claim11                                             Evidence
11. A method for The Google customer service platform performs a method for assigning communications.
assigning
communications For example, the Google customer service platform assigns incoming calls (including
, comprising:    SMS and live chats) to call center agents.




                 Source: Contact Us | Google Cloud




                                                  1
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                  Source: Google Cloud Blog
receiving a       The Google customer service platform receives multiple respective communications that
plurality of      are to be associated with a respective resource selected from multiple resources.
respective
communications    For example, the Google customer service platform receives multiple incoming calls (e.g.
for association   including phone calls, SMS and live chats) from customers requesting support or
with a            information. Each incoming call is to be assigned, by the customer service platform, to a
respective        call center agent who can help the customer with the customer’s request.
resource
selected from a
plurality of
resources;




                  Source: Contact Us | Google Cloud




                                                    2
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                   Source: Google Cloud Blog
identifying a      The Google customer service platform identifies multiple resources that are available for
plurality of       association with a respective communication and are capable of handling the respective
resources          communication. Each available resource has a limited quantitative capacity for
available for      association with multiple communications and an availability state.
association with
a respective       For example, the Google customer service platform uses one or more of interactive voice
communication      response (e.g. language), caller identification (e.g. user account profile) and customer
and capable of     relationship management information to determine the nature of a call and thereby, the
handling the       required skill of a call center agent to handle the call. Based on the required skill set, the
respective         customer service platform identifies call center agents (i.e. resources) who possess the
communication,     skill set and are therefore capable of handling the call. Those identified agents who are
each available     immediately, or will soon be, available to handle the call are deemed by the customer
resource having    service platform to be available to handle the call. Each call center agent is typically
a limited          handling only one call at any moment but can be assigned to multiple calls that are
quantitative       waiting in a queue, the size of which is dependent on various factors (e.g. call volume
capacity for       during peak season).
association with
multiple
communications
and an
availability
state;




                                                       3
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Source: Support Hub | Google Cloud




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Source: Contact Center AI (CCAI) Platform | Google Cloud




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                   Source: Google Cloud Blog

calculating a      The Google customer service platform calculates a respective score associated with each
respective score   available resource dependent on the availability state of a respective available resource.
associated with
each available     For example, for each available agent, the Google customer service platform determines
resource           an estimated wait time that the caller will remain in a queue before the agent can take
dependent on       the call (e.g. to prioritize urgent communications).
the availability
state of a
respective
available
resource;




                                                     7
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                   Source: Google Cloud Blog



estimating an      The Google customer service platform estimates an expected economic value to be
expected           obtained by associating each respective communication with each respective available
economic value     resource. The estimated economic value is dependent on at least the score and a
to be obtained     respective communication-content dependent value function of an outcome of a
by associating     respective communication associated with a respective available resource.
each respective
communication      For example, for a given call, the Google customer service platform determines, from the
with each          group of available agents, an appropriate agent for handling the call. This determination
respective         is dependent on the estimated wait time before the call is routed to the particular agent
available          and how well the requirements of the call match the skill profile of the particular agent.
resource,
dependent on at
least the score
and a respective




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communication-
content
dependent value
function of an
outcome of a
respective
communication
associated with
a respective
available
resource; and


                  Source: Support Hub | Google Cloud




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Source: Contact Center AI (CCAI) Platform | Google Cloud




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                   Source: Google Cloud Blog


assigning each     The Google customer service platform assigns each of the multiple respective
of the plurality   communications to one of the multiple resources based on at least the estimated
of respective      expected economic value to be obtained by associating each respective communication
communications     with each respective resource.




                                                   12
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to one of the
plurality of      For example, based on the estimated expected economic value by Customer satisfaction
resources based   (CSAT) survey, the Google Customer Service system selects a call center agent to handle
on at least the   the call and connects that agent with the caller.
estimated
expected
economic value
to be obtained
by associating
each respective
communication
with each
respective
resource.




                  Source: Support Hub | Google Cloud




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Source: Contact Center AI (CCAI) Platform | Google Cloud




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Source: Google Cloud Blog




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